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          Exhibit 25
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                                                        **** AR - HISTORY - REPORT ON 03/13/2017****



GREER MD, STEVEN                                                                                                                      MARINER'S COVE SITE B ASSOC.
200 RECTOR PLACE #35F                                                                                                                            200 RECTOR PLACE
NEW YORK, NY 10280                                                                                                                              NEW YORK, NY 10280



Tenant ID          Tenant Name                     Property Name                Lease Start Date Lease End Date                 Square Feet          Security Deposit
Z1 35F             GREER MD, STEVEN                MARINER'S COVE SITE B ASSOC. 05/01/2013       04/30/2014                             645                $3,395.00




  Date IN     A/R Desc                    Inv # Voucher        Type        Amount Billed           Payments    Running Bal.     Age    Description

                                                                                             Opening Balance            0.00

03/14/2002 **Payments**                      0    PVO          Cash                                 2,265.00      (2,265.00)

04/01/2002 47 - RENT ADJUSTMENT         677377    1G8          Credit          (1,057.00)                         (3,322.00)    38
 04/01/2002   RT - APT RENT              684315   1G8          Invoice            2,265.00                         (1,057.00)   38
 05/01/2002   RT - APT RENT              695273   1G8          Invoice            2,265.00                          1,208.00     8

05/09/2002 **Payments**                      0    1G8          Cash                                 1,208.00            0.00
 06/01/2002   RT - APT RENT              706869   84Z          Invoice            2,265.00                          2,265.00     6

06/07/2002 **Payments**                      0    84Z          Cash                                 2,265.00            0.00
 07/01/2002   RT - APT RENT              717745   GZW          Invoice            2,265.00                          2,265.00     9

07/10/2002 **Payments**                      0    GZW          Cash                                 2,265.00            0.00
 08/01/2002   RT - APT RENT              729290   N47          Invoice            2,265.00                          2,265.00     5

08/06/2002 **Payments**                      0    N47          Cash                                 2,265.00            0.00
 09/01/2002   RT - APT RENT              741964   X9I          Invoice            2,265.00                          2,265.00    19

09/20/2002 **Payments**                      0    X9I          Cash                                 2,265.00            0.00
 10/01/2002   RT - APT RENT              754449   19T          Invoice            2,265.00                          2,265.00     3

10/04/2002 **Payments**                      0    19T          Cash                                 2,265.00            0.00

10/29/2002 **Payments**                      0    4UT          Cash                                 2,265.00      (2,265.00)
 11/01/2002   L9 - LEGAL_09/10           758852   DYY          Debit                50.00                          (2,215.00)   33
 11/01/2002   RT - APT RENT              766584   DYY          Invoice            2,265.00                             50.00    33

12/01/2002 L9 - LEGAL_09/10             769929    DYY          Credit             (50.00)                               0.00     3
 12/01/2002   RT - APT RENT              777903   DYY          Invoice            2,265.00                          2,265.00     3

12/04/2002 **Payments**                      0    DYY          Cash                                 2,265.00            0.00
 01/01/2003   LY - LATE-NOVEMBER         781575   LG4          Debit               100.00                             100.00     1
 01/01/2003   RT - APT RENT              789245   VLZ          Invoice            2,265.00                          2,365.00    37

01/02/2003 **Payments**                      0    LG4          Cash                                 2,265.00         100.00
 02/01/2003   RT - APT RENT               1165    YYC          Invoice            2,265.00                          2,365.00    23

02/07/2003 **Payments**                      0    VLZ          Cash                                 2,265.00         100.00

02/24/2003 **Payments**                      0    YYC          Cash                                 2,265.00      (2,165.00)
 03/01/2003   RT - APT RENT              12725    603          Invoice            2,265.00                            100.00    18

03/20/2003 **Payments**                      0    603          Cash                                 2,265.00      (2,165.00)

04/01/2003 78 - LATE CHARGE              16789    F42          Credit            (100.00)                         (2,265.00)    34

04/01/2003 LY - LATE-NOVEMBER            16794    F42          Credit            (100.00)                         (2,365.00)    34
 04/01/2003   RT - APT RENT              24543    F42          Invoice            2,265.00                          (100.00)    34
 05/01/2003   78 - LATE CHARGE           28081    F42          Debit               100.00                               0.00     4
 05/01/2003   CB - CABLE                 35785    F42          Invoice              24.95                              24.95     4
 05/01/2003   RT - APT RENT              35785    MIO          Invoice            2,265.00                          2,289.95    34

05/05/2003 **Payments**                      0    F42          Cash                                 2,265.00          24.95

06/01/2003 TV - CABLE TV                 39342    MIO          Credit             (24.95)                             (0.00)     3
 06/01/2003   RT - APT RENT              46896    MIO          Invoice            2,265.00                          2,265.00     3

06/04/2003 **Payments**                      0    MIO          Cash                                 2,265.00            0.00

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GREER MD, STEVEN                                                                                                                 MARINER'S COVE SITE B ASSOC.
200 RECTOR PLACE #35F                                                                                                                       200 RECTOR PLACE
NEW YORK, NY 10280                                                                                                                         NEW YORK, NY 10280



Tenant ID         Tenant Name                    Property Name                Lease Start Date Lease End Date              Square Feet          Security Deposit
Z1 35F            GREER MD, STEVEN               MARINER'S COVE SITE B ASSOC. 05/01/2013       04/30/2014                          645                $3,395.00




  Date IN     A/R Desc                  Inv # Voucher        Type        Amount Billed         Payments    Running Bal.    Age    Description

07/01/2003 **Payments**                    0    S3V          Cash                               2,378.25      (2,378.25)
 07/01/2003   RT - APT RENT            58379    S3V          Invoice            2,378.25                            0.00    0
 07/11/2003   28 - RETURNED CHECK      61924    WFC          Debit              2,378.25                        2,378.25   10

07/21/2003 **Payments**                    0    WFC          Cash                               2,378.25           0.00
 08/01/2003   RT - APT RENT            69428    XJL          Invoice            2,378.25                        2,378.25    4

08/05/2003 **Payments**                    0    XJL          Cash                               2,378.25           0.00
 09/01/2003   RT - APT RENT            76037    1XV          Invoice            2,378.25                        2,378.25    9

09/10/2003 **Payments**                    0    1XV          Cash                               2,378.25           0.00
 10/01/2003   RT - APT RENT            81540    3QT          Invoice            2,378.25                        2,378.25    5

10/06/2003 **Payments**                    0    3QT          Cash                               2,378.25           0.00
 11/01/2003   RT - APT RENT            86962    6D0          Invoice            2,378.25                        2,378.25    2

11/03/2003 **Payments**                    0    6D0          Cash                               2,378.25           0.00
 12/01/2003   RT - APT RENT            92660    A6K          Invoice            2,378.25                        2,378.25    2

12/03/2003 **Payments**                    0    A6K          Cash                               2,378.25           0.00
 01/01/2004   RT - APT RENT            98223    E9A          Invoice            2,378.25                        2,378.25    6

01/07/2004 **Payments**                    0    E9A          Cash                               2,378.25           0.00
 02/01/2004   RT - APT RENT            103676   HBS          Invoice            2,378.25                        2,378.25    3

02/04/2004 **Payments**                    0    HBS          Cash                               2,378.25           0.00
 03/01/2004   RT - APT RENT            109216   KPE          Invoice            2,378.25                        2,378.25    2

03/03/2004 **Payments**                    0    KPE          Cash                               2,379.00          (0.75)
 04/01/2004   RT - APT RENT            114987   OLF          Invoice            2,378.25                        2,377.50    5

04/06/2004 **Payments**                    0    OLF          Cash                               2,378.50          (1.00)
 05/01/2004   RT - APT RENT            120445   RM3          Invoice            2,378.25                        2,377.25    5

05/06/2004 **Payments**                    0    RM3          Cash                               2,377.25           0.00
 06/01/2004   RT - APT RENT            126325   UI9          Invoice            2,378.25                        2,378.25    2

06/03/2004 **Payments**                    0    UI9          Cash                               2,378.25           0.00
 07/01/2004   RT - APT RENT            131993   YQY          Invoice            2,378.25                        2,378.25    6

07/07/2004 **Payments**                    0    YQY          Cash                               2,400.00         (21.75)
 08/01/2004   RT - APT RENT            137923   2S6          Invoice            2,450.00                        2,428.25    8

08/09/2004 **Payments**                    0    2S6          Cash                               2,428.25           0.00
 09/01/2004   RT - APT RENT            144263   6H4          Invoice            2,450.00                        2,450.00    8

09/09/2004 **Payments**                    0    6H4          Cash                               2,450.00           0.00
 10/01/2004   RT - APT RENT            150471   9HF          Invoice            2,450.00                        2,450.00    4

10/05/2004 **Payments**                    0    9HF          Cash                               2,450.00           0.00
 11/01/2004   RT - APT RENT            156648   D2G          Invoice            2,450.00                        2,450.00    2

11/03/2004 **Payments**                    0    D2G          Cash                               2,450.00           0.00
 12/01/2004   RT - APT RENT            163076   HF4          Invoice            2,450.00                        2,450.00    6

12/07/2004 **Payments**                    0    HF4          Cash                               2,450.00           0.00
 01/01/2005   RT - APT RENT            169979   KYX          Invoice            2,450.00                        2,450.00    5

01/06/2005 **Payments**                    0    KYX          Cash                               2,450.00           0.00

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GREER MD, STEVEN                                                                                                                  MARINER'S COVE SITE B ASSOC.
200 RECTOR PLACE #35F                                                                                                                        200 RECTOR PLACE
NEW YORK, NY 10280                                                                                                                          NEW YORK, NY 10280



Tenant ID         Tenant Name                    Property Name                Lease Start Date Lease End Date               Square Feet          Security Deposit
Z1 35F            GREER MD, STEVEN               MARINER'S COVE SITE B ASSOC. 05/01/2013       04/30/2014                           645                $3,395.00




  Date IN     A/R Desc                  Inv # Voucher        Type        Amount Billed         Payments    Running Bal.     Age    Description
 02/01/2005   RT - APT RENT            177135   Q4E          Invoice            2,450.00                        2,450.00     9

02/10/2005 **Payments**                    0    Q4E          Cash                               2,450.00           0.00
 03/01/2005   RT - APT RENT            184071   TKC          Invoice            2,450.00                        2,450.00     7

03/08/2005 **Payments**                    0    TKC          Cash                               2,483.75         (33.75)
 03/08/2005   42 - CHECK RECEIVED      192066   WAQ          Debit                33.75                             0.00    26
 04/01/2005   RT - APT RENT            190184   WAQ          Invoice            2,450.00                        2,450.00     3

04/04/2005 **Payments**                    0    WAQ          Cash                               2,500.00         (50.00)

04/05/2005 **Payments**                    0    WP0          Cash                               2,490.00      (2,540.00)
 05/01/2005   RT - APT RENT            200614   5IG          Invoice            2,450.00                          (90.00)   40
 06/01/2005   RT - APT RENT            208318   5IG          Invoice            2,450.00                        2,360.00     9

06/09/2005 42 - CHECK RECEIVED        210765    5IG          Credit          (2,398.75)                          (38.75)     1

06/10/2005 **Payments**                    0    5IG          Cash                               1,000.00      (1,038.75)

06/20/2005 **Payments**                    0    60M          Cash                               1,490.00      (2,528.75)
 07/01/2005   RT - APT RENT            216084   8UF          Invoice            2,450.00                          (78.75)   10

07/11/2005 **Payments**                    0    8UF          Cash                               1,480.00      (1,558.75)

07/18/2005 **Payments**                    0    9GF          Cash                               1,000.00      (2,558.75)
 08/01/2005   RT - APT RENT            222720   D05          Invoice            2,495.00                          (63.75)   11

08/12/2005 **Payments**                    0    D05          Cash                               2,386.25      (2,450.00)
 09/01/2005   RT - APT RENT            230225   G3B          Invoice            2,495.00                           45.00     7

09/08/2005 **Payments**                    0    G3B          Cash                               2,495.00      (2,450.00)
 10/01/2005   RT - APT RENT            236933   KSY          Invoice            2,495.00                           45.00    12

10/13/2005 **Payments**                    0    KSY          Cash                               2,500.00      (2,455.00)
 11/01/2005   RT - APT RENT            245764   N7L          Invoice            2,495.00                           40.00     3

11/04/2005 **Payments**                    0    N7L          Cash                               2,461.25      (2,421.25)
 12/01/2005   RT - APT RENT            252342   R75          Invoice            2,495.00                           73.75     6

12/07/2005 **Payments**                    0    R75          Cash                               2,500.00      (2,426.25)
 01/01/2006   RT - APT RENT            258529   UIU          Invoice            2,495.00                           68.75     4

01/05/2006 **Payments**                    0    UIU          Cash                               2,528.75      (2,460.00)
 02/01/2006   RT - APT RENT            265381   YNO          Invoice            2,495.00                           35.00     5

02/06/2006 **Payments**                    0    YNO          Cash                               2,428.75      (2,393.75)
 03/01/2006   RT - APT RENT            272256   334          Invoice            2,495.00                          101.25     7

03/08/2006 **Payments**                    0    334          Cash                               2,496.25      (2,395.00)
 04/01/2006   RT - APT RENT            278645   6OR          Invoice            2,495.00                          100.00     5

04/06/2006 **Payments**                    0    6OR          Cash                               2,496.25      (2,396.25)
 05/01/2006   RT - APT RENT            286548   A2C          Invoice            2,495.00                           98.75     3

05/04/2006 **Payments**                    0    A2C          Cash                               2,530.00      (2,431.25)
 06/01/2006   RT - APT RENT            292709   EKA          Invoice            2,495.00                           63.75     6

06/07/2006 **Payments**                    0    EKA          Cash                               2,462.50      (2,398.75)
 07/01/2006   RT - APT RENT            299335   I39          Invoice            2,495.00                           96.25     6

07/07/2006 **Payments**                    0    I39          Cash                               2,495.00      (2,398.75)

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GREER MD, STEVEN                                                                                                                    MARINER'S COVE SITE B ASSOC.
200 RECTOR PLACE #35F                                                                                                                          200 RECTOR PLACE
NEW YORK, NY 10280                                                                                                                            NEW YORK, NY 10280



Tenant ID          Tenant Name                   Property Name                Lease Start Date Lease End Date                 Square Feet          Security Deposit
Z1 35F             GREER MD, STEVEN              MARINER'S COVE SITE B ASSOC. 05/01/2013       04/30/2014                             645                $3,395.00




  Date IN     A/R Desc                  Inv # Voucher        Type        Amount Billed         Payments       Running Bal.    Age    Description
 08/01/2006   RT - APT RENT            305731   L2P          Invoice            2,575.00                             176.25    1

08/02/2006 **Payments**                    0    L2P          Cash                               2,495.00         (2,318.75)
 09/01/2006   RT - APT RENT            312088   PZA          Invoice            2,575.00                             256.25    6

09/07/2006 **Payments**                    0    PZA          Cash                                    256.25           0.00
 10/01/2006   RT - APT RENT            318288   TRU          Invoice            2,575.00                           2,575.00    4

10/05/2006 **Payments**                    0    TRU          Cash                               2,608.75            (33.75)
 10/31/2006   42 - CHECK RECEIVED      328613   XTU          Debit                33.75                                0.00    8
 11/01/2006   RT - APT RENT            326057   XTU          Invoice            2,575.00                           2,575.00    7

11/08/2006 **Payments**                    0    XTU          Cash                               2,608.75            (33.75)
 11/17/2006   42 - CHECK RECEIVED      330971   1AQ          Debit                33.75                                0.00   21
 12/01/2006   RT - APT RENT            334535   1AQ          Invoice            2,575.00                           2,575.00    7

12/08/2006 **Payments**                    0    1AQ          Cash                               2,575.00              0.00
 01/01/2007   RT - APT RENT            340628   5UX          Invoice            2,575.00                           2,575.00   10

01/11/2007 **Payments**                    0    5UX          Cash                               2,575.00              0.00
 02/01/2007   RT - APT RENT            347170   94V          Invoice            2,575.00                           2,575.00    6

02/07/2007 **Payments**                    0    94V          Cash                               2,575.00              0.00
 03/01/2007   RT - APT RENT            353813   DD5          Invoice            2,575.00                           2,575.00    7

03/08/2007 **Payments**                    0    DD5          Cash                               2,575.00              0.00
 04/01/2007   RT - APT RENT            360020   GRN          Invoice            2,575.00                           2,575.00    4

04/05/2007 **Payments**                    0    GRN          Cash                               2,575.00              0.00
 05/01/2007   RT - APT RENT            366389   LHD          Invoice            2,575.00                           2,575.00    8

05/09/2007 **Payments**                    0    LHD          Cash                               2,575.00              0.00
 06/01/2007   RT - APT RENT            373386   P3F          Invoice            2,575.00                           2,575.00    5

06/06/2007 **Payments**                    0    P3F          Cash                               2,575.00              0.00
 07/01/2007   RT - APT RENT            381452   UYO          Invoice            2,575.00                           2,575.00   17

07/18/2007 **Payments**                    0    UYO          Cash                               2,611.00            (36.00)
 07/18/2007   42 - CHECK RECEIVED      389868   ZSX          Debit                36.00                                0.00   42
 08/01/2007   RT - APT RENT            387877   ZSX          Invoice            2,675.00                           2,675.00   28

08/29/2007 **Payments**                    0    ZSX          Cash                               2,675.00              0.00
 09/01/2007   L7 - LEGAL_07/08         390249   1XU          Debit                50.00                               50.00    9
 09/01/2007   RT - APT RENT            394941   6I3          Invoice            2,675.00                           2,725.00   39

09/10/2007 **Payments**                    0    1XU          Cash                               2,700.00             25.00

10/01/2007 L7 - LEGAL_07/08           397155    6I3          Credit             (50.00)                             (25.00)    9
 10/01/2007   RT - APT RENT            401979   6I3          Invoice            2,675.00                           2,650.00    9

10/10/2007 **Payments**                    0    6I3          Cash                               2,675.00            (25.00)
 11/01/2007   RT - APT RENT            411772   9HM          Invoice            2,675.00                           2,650.00    5

11/06/2007 **Payments**                    0    9HM          Cash                               2,650.00              0.00
 12/01/2007   RT - APT RENT            418764   DN5          Invoice            2,675.00                           2,675.00    5

12/06/2007 **Payments**                    0    DN5          Cash                               2,675.00              0.00
 01/01/2008   RT - APT RENT            425663   ILT          Invoice            2,675.00                           2,675.00    8

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GREER MD, STEVEN                                                                                                                   MARINER'S COVE SITE B ASSOC.
200 RECTOR PLACE #35F                                                                                                                         200 RECTOR PLACE
NEW YORK, NY 10280                                                                                                                           NEW YORK, NY 10280



Tenant ID          Tenant Name                    Property Name                Lease Start Date Lease End Date               Square Feet          Security Deposit
Z1 35F             GREER MD, STEVEN               MARINER'S COVE SITE B ASSOC. 05/01/2013       04/30/2014                           645                $3,395.00




  Date IN     A/R Desc                   Inv # Voucher        Type        Amount Billed         Payments    Running Bal.     Age    Description

01/09/2008 **Payments**                     0    ILT          Cash                               2,675.00            0.00
 02/01/2008   RT - APT RENT             432596   NJ8          Invoice            2,675.00                        2,675.00    11

02/12/2008 **Payments**                     0    NJ8          Cash                               2,675.00            0.00
 03/01/2008   RT - APT RENT             440069   QTM          Invoice            2,675.00                        2,675.00     5

03/06/2008 **Payments**                     0    QTM          Cash                               2,713.25         (38.25)
 04/01/2008   RT - APT RENT             448147   UZA          Invoice            2,675.00                        2,636.75     6
 04/02/2008   42 - CHECK RECEIVED       449944   UZA          Debit                38.25                         2,675.00     5

04/07/2008 **Payments**                     0    UZA          Cash                               2,675.00            0.00
 05/01/2008   RT - APT RENT             455369   0XO          Invoice            2,675.00                        2,675.00    19

05/20/2008 **Payments**                     0    0XO          Cash                               2,675.00            0.00
 06/01/2008   RT - APT RENT             462027   2HQ          Invoice            2,675.00                        2,675.00     3

06/04/2008 **Payments**                     0    2HQ          Cash                               2,675.00            0.00

07/01/2008 **Payments**                     0    6C7          Cash                               2,675.00      (2,675.00)
 07/01/2008   L5 - LATE-MAY             464205   6C7          Debit                50.00                        (2,625.00)    0
 07/01/2008   RT - APT RENT             468677   EWW          Invoice            2,675.00                           50.00    66
 08/01/2008   RT - APT RENT             475820   EWW          Invoice            2,675.00                        2,725.00    35
 09/01/2008   47 - RENT ADJUSTMENT      477838   EWW          Debit               175.00                         2,900.00     4
 09/01/2008   RT - APT RENT             482972   EWW          Invoice            2,850.00                        5,750.00     4

09/05/2008 **Payments**                     0    EWW          Cash                               5,750.00            0.00
 10/01/2008   L8 - LATE-AUGUST          485100   KF7          Debit               100.00                           100.00    13
 10/01/2008   RT - APT RENT             490124   NHG          Invoice            2,850.00                        2,950.00    37

10/14/2008 **Payments**                     0    KF7          Cash                               2,888.25          61.75
 10/14/2008   42 - CHECK RECEIVED       502147   REV          Debit                38.25                           100.00    57
 11/01/2008   RT - APT RENT             497226   REV          Invoice            2,850.00                        2,950.00    39

11/07/2008 **Payments**                     0    NHG          Cash                               2,888.25          61.75
 11/07/2008   42 - CHECK RECEIVED       502148   REV          Debit                38.25                           100.00    33

12/01/2008 L8 - LATE-AUGUST            500416    REV          Credit            (100.00)                             0.00     9
 12/01/2008   RT - APT RENT             506030   REV          Invoice            2,850.00                        2,850.00     9

12/10/2008 **Payments**                     0    REV          Cash                               2,850.00            0.00
 01/01/2009   RT - APT RENT             512784   WN7          Invoice            2,850.00                        2,850.00    25

01/26/2009 **Payments**                     0    WN7          Cash                               2,850.00            0.00
 02/01/2009   RT - APT RENT             519406   ZEQ          Invoice            2,850.00                        2,850.00    16

02/17/2009 **Payments**                     0    ZEQ          Cash                               2,850.00            0.00
 03/01/2009   RT - APT RENT             526284   2WK          Invoice            2,850.00                        2,850.00    10

03/12/2009 **Payments**                     0    2WK          Cash                               2,850.00            0.00
 04/01/2009   RT - APT RENT             533079   74L          Invoice            2,850.00                        2,850.00    15

04/16/2009 **Payments**                     0    74L          Cash                               2,850.00            0.00
 05/01/2009   RT - APT RENT             539601   ASH          Invoice            2,850.00                        2,850.00    13

05/14/2009 **Payments**                     0    ASH          Cash                               2,850.00            0.00
 06/01/2009   L4 - LATE-APRIL           542052   D7Z          Debit                50.00                            50.00     4

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                                                        **** AR - HISTORY - REPORT ON 03/13/2017****



GREER MD, STEVEN                                                                                                                    MARINER'S COVE SITE B ASSOC.
200 RECTOR PLACE #35F                                                                                                                          200 RECTOR PLACE
NEW YORK, NY 10280                                                                                                                            NEW YORK, NY 10280



Tenant ID          Tenant Name                     Property Name                Lease Start Date Lease End Date               Square Feet          Security Deposit
Z1 35F             GREER MD, STEVEN                MARINER'S COVE SITE B ASSOC. 05/01/2013       04/30/2014                           645                $3,395.00




  Date IN     A/R Desc                    Inv # Voucher        Type        Amount Billed         Payments    Running Bal.     Age    Description
 06/01/2009   RT - APT RENT              546211   HU0          Invoice            2,850.00                        2,900.00    39

06/05/2009 **Payments**                      0    D7Z          Cash                               2,850.00          50.00
 07/01/2009   RT - APT RENT              552912   LHV          Invoice            2,850.00                        2,900.00    40

07/10/2009 **Payments**                      0    HU0          Cash                               2,850.00          50.00
 08/01/2009   RT - APT RENT              560034   POY          Invoice            2,850.00                        2,900.00    44

08/10/2009 **Payments**                      0    LHV          Cash                               2,850.00          50.00

09/01/2009 L4 - LATE-APRIL              562786    POY          Credit             (50.00)                             0.00    13
 09/01/2009   RT - APT RENT              566787   POY          Invoice            2,850.00                        2,850.00    13

09/14/2009 **Payments**                      0    POY          Cash                               2,850.00            0.00
 10/01/2009   RT - APT RENT              573414   RFX          Invoice            2,850.00                        2,850.00     1

10/02/2009 **Payments**                      0    RFX          Cash                               2,850.00            0.00
 11/01/2009   RT - APT RENT              579982   WVM          Invoice            2,850.00                        2,850.00     9

11/10/2009 **Payments**                      0    WVM          Cash                               2,850.00            0.00
 12/01/2009   RT - APT RENT              589747   4CV          Invoice            2,850.00                        2,850.00    38
 01/01/2010   14 - BULBS                 591994   4CV          Debit                20.00                         2,870.00     7
 01/01/2010   RT - APT RENT              596938   4CV          Invoice            2,850.00                        5,720.00     7

01/08/2010 **Payments**                      0    4CV          Cash                               5,720.00            0.00
 02/01/2010   LZ - LATE-DECEMBER         599456   FE7          Debit               100.00                           100.00    51
 02/01/2010   RT - APT RENT              603939   FE7          Invoice            2,850.00                        2,950.00    51
 03/01/2010   RT - APT RENT              611132   LC6          Invoice            2,850.00                        5,800.00    66

03/25/2010 **Payments**                      0    FE7          Cash                               5,700.00         100.00
 04/01/2010   L2 - LATE-FEBRUARY         613228   LC6          Debit               100.00                           200.00    36
 04/01/2010   RT - APT RENT              618567   LC6          Invoice            2,850.00                        3,050.00    36
 05/01/2010   06 - LEGAL FEES            620489   QM2          Debit               139.43                         3,189.43    44
 05/01/2010   RT - APT RENT              625829   QM2          Invoice            2,850.00                        6,039.43    44

05/07/2010 **Payments**                      0    LC6          Cash                               3,100.00       2,939.43
 06/01/2010   06 - LEGAL FEES            627761   UNF          Debit               139.43                         3,078.86    42
 06/01/2010   L4 - LATE-APRIL            628221   UNF          Debit               100.00                         3,178.86    42
 06/01/2010   RT - APT RENT              632920   UNF          Invoice            2,850.00                        6,028.86    42
 06/01/2010   L5 - LATE-MAY              636146   UNF          Debit               100.00                         6,128.86    42

06/14/2010 **Payments**                      0    QM2          Cash                               2,950.00       3,178.86
 07/01/2010   RT - APT RENT              641217   VD8          Invoice            2,850.00                        6,028.86    20

07/13/2010 **Payments**                      0    UNF          Cash                               5,800.00         228.86

07/21/2010 **Payments**                      0    VD8          Cash                               2,850.00      (2,621.14)

08/01/2010 06 - LEGAL FEES              643086    9BW          Credit            (139.43)                       (2,760.57)    87
 08/01/2010   L6 - LATE-JUNE             643290   9BW          Debit               100.00                        (2,660.57)   87
 08/01/2010   RT - APT RENT              647952   9BW          Invoice            2,850.00                          189.43    87
 09/01/2010   RT - APT RENT              657789   9BW          Invoice            2,850.00                        3,039.43    56
 10/01/2010   RT - APT RENT              663682   9BW          Invoice            2,850.00                        5,889.43    26

10/01/2010 42 - CHECK RECEIVED          665191    9BW          Credit          (2,850.00)                        3,039.43     26

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                                                      **** AR - HISTORY - REPORT ON 03/13/2017****



GREER MD, STEVEN                                                                                                                 MARINER'S COVE SITE B ASSOC.
200 RECTOR PLACE #35F                                                                                                                       200 RECTOR PLACE
NEW YORK, NY 10280                                                                                                                         NEW YORK, NY 10280



Tenant ID         Tenant Name                    Property Name                Lease Start Date Lease End Date              Square Feet          Security Deposit
Z1 35F            GREER MD, STEVEN               MARINER'S COVE SITE B ASSOC. 05/01/2013       04/30/2014                          645                $3,395.00




  Date IN     A/R Desc                  Inv # Voucher        Type        Amount Billed         Payments    Running Bal.    Age    Description

10/04/2010 42 - CHECK RECEIVED        665434    9BW          Credit          (2,850.00)                          189.43    23

10/27/2010 **Payments**                    0    9BW          Cash                               2,850.00      (2,660.57)
 11/01/2010   RT - APT RENT            671367   BGD          Invoice            2,850.00                          189.43    9

11/10/2010 **Payments**                    0    BGD          Cash                               2,850.00      (2,660.57)
 12/01/2010   RT - APT RENT            679288   G2I          Invoice            2,850.00                          189.43   16

12/17/2010 **Payments**                    0    G2I          Cash                               2,850.00      (2,660.57)
 01/01/2011   RT - APT RENT            687001   LNL          Invoice            2,850.00                          189.43   24

01/25/2011 **Payments**                    0    LNL          Cash                               2,850.00      (2,660.57)
 02/01/2011   RT - APT RENT            694104   Q4Q          Invoice            2,850.00                          189.43   28

03/01/2011 **Payments**                    0    Q4Q          Cash                               2,850.00      (2,660.57)
 03/01/2011   RT - APT RENT            701235   UFM          Invoice            2,850.00                          189.43   28

03/30/2011 **Payments**                    0    UFM          Cash                               2,850.00      (2,660.57)
 04/01/2011   RT - APT RENT            708989   00O          Invoice            2,850.00                          189.43   34
 05/01/2011   RT - APT RENT            718987   6AG          Invoice            2,850.00                        3,039.43   47

05/05/2011 **Payments**                    0    00O          Cash                               2,995.00          44.43
 06/01/2011   47 - RENT ADJUSTMENT     721540   6AG          Debit               145.00                           189.43   16
 06/01/2011   RT - APT RENT            726776   6AG          Invoice            2,995.00                        3,184.43   16

06/17/2011 **Payments**                    0    6AG          Cash                               5,990.00      (2,805.57)
 07/01/2011   RT - APT RENT            735004   8HD          Invoice            2,995.00                          189.43    5

07/06/2011 **Payments**                    0    8HD          Cash                               2,995.00      (2,805.57)

07/07/2011 42 - CHECK RECEIVED        736653    JJC          Credit            (145.00)                       (2,950.57)   71
 08/01/2011   RT - APT RENT            743558   JJC          Invoice            2,995.00                           44.43   46
 09/01/2011   RT - APT RENT            752029   L43          Invoice            2,995.00                        3,039.43   32

09/16/2011 **Payments**                    0    JJC          Cash                               2,995.00          44.43
 10/01/2011   RT - APT RENT            760523   TU8          Invoice            2,995.00                        3,039.43   53

10/03/2011 **Payments**                    0    L43          Cash                               2,995.00          44.43
 11/01/2011   RT - APT RENT            769263   VV4          Invoice            2,995.00                        3,039.43   37

11/23/2011 **Payments**                    0    TU8          Cash                               2,995.00          44.43
 12/01/2011   RT - APT RENT            780691   16N          Invoice            2,995.00                        3,039.43   42

12/08/2011 **Payments**                    0    VV4          Cash                               2,995.00          44.43
 01/01/2012   RT - APT RENT            790091   3PO          Invoice            2,995.00                        3,039.43   37

01/12/2012 **Payments**                    0    16N          Cash                               2,995.00          44.43
 02/01/2012   RT - APT RENT            797653   BXZ          Invoice            2,995.00                        3,039.43   62

02/07/2012 **Payments**                    0    3PO          Cash                               2,995.00          44.43
 03/01/2012   RT - APT RENT             5968    DZA          Invoice            2,995.00                        3,039.43   42
 04/01/2012   RT - APT RENT            14242    L3R          Invoice            2,995.00                        6,034.43   65

04/04/2012 **Payments**                    0    BXZ          Cash                               2,995.00       3,039.43

04/13/2012 **Payments**                    0    DZA          Cash                               2,995.00          44.43
 05/01/2012   RT - APT RENT            22163    SZB          Invoice            3,150.00                        3,194.43   73
 06/01/2012   RT - APT RENT            31779    WKE          Invoice            3,150.00                        6,344.43   67

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GREER MD, STEVEN                                                                                                                      MARINER'S COVE SITE B ASSOC.
200 RECTOR PLACE #35F                                                                                                                            200 RECTOR PLACE
NEW YORK, NY 10280                                                                                                                              NEW YORK, NY 10280



Tenant ID          Tenant Name                   Property Name                Lease Start Date Lease End Date                  Square Feet           Security Deposit
Z1 35F             GREER MD, STEVEN              MARINER'S COVE SITE B ASSOC. 05/01/2013       04/30/2014                              645                 $3,395.00




  Date IN     A/R Desc                  Inv # Voucher        Type        Amount Billed         Payments       Running Bal.    Age      Description

06/05/2012 **Payments**                    0    L3R          Cash                               2,995.00          3,349.43
 07/01/2012   RT - APT RENT            40116    Z6L          Invoice            3,150.00                           6,499.43    66

07/13/2012 **Payments**                    0    SZB          Cash                               2,995.00          3,504.43
 08/01/2012   RT - APT RENT            48826    Z6L          Invoice            3,150.00                           6,654.43    35

08/07/2012 **Payments**                    0    WKE          Cash                               2,950.00          3,704.43
 09/01/2012   L6 - LATE-JUNE           51438    Z6L          Debit               100.00                            3,804.43    4
 09/01/2012   L5 - LATE-MAY            51442    Z6L          Debit               100.00                            3,904.43    4
 09/01/2012   RT - APT RENT            56594    4HB          Invoice            3,150.00                           7,054.43    33

09/05/2012 **Payments**                    0    Z6L          Cash                               4,000.00          3,054.43
 10/01/2012   L8 - LATE-AUGUST         59038    BJI          Debit               100.00                            3,154.43    49
 10/01/2012   RT - APT RENT            64293    FRV          Invoice            3,150.00                           6,304.43    71

10/04/2012 **Payments**                    0    4HB          Cash                               3,054.43          3,250.00
 11/01/2012   RT - APT RENT            72126    KEQ          Invoice            3,150.00                           6,400.00    70

11/19/2012 **Payments**                    0    BJJ          Cash                                    450.00       5,950.00

11/19/2012 **Payments**                    0    BJI          Cash                               2,700.00          3,250.00
 12/01/2012   RT - APT RENT            79413    PFT          Invoice            3,150.00                           6,400.00    82

12/11/2012 **Payments**                    0    FRV          Cash                               2,000.00          4,400.00
 01/01/2013   24 - REPAIRS KITCHEN     82290    PFT          Debit                25.00                            4,425.00    51
 01/01/2013   RT - APT RENT            87705    U43          Invoice            3,150.00                           7,575.00    82

01/10/2013 **Payments**                    0    KEQ          Cash                               3,400.00          4,175.00
 02/01/2013   RT - APT RENT            98360    U43          Invoice            3,150.00                           7,325.00    51

02/21/2013 **Payments**                    0    PFT          Cash                               3,150.00          4,175.00
 03/01/2013   L1 - LATE-JANUARY        101818   U43          Debit               100.00                            4,275.00    23
 03/01/2013   RT - APT RENT            106620   3JN          Invoice            3,150.00                           7,425.00   809

03/25/2013 **Payments**                    0    U43          Cash                               5,000.00          2,425.00
 04/01/2013   L2 - LATE-FEBRUARY       109317   3JN          Debit                50.00                            2,475.00   779
 04/01/2013   RT - APT RENT            114602   3JN          Invoice            3,150.00                           5,625.00   779

04/10/2013 **Payments**                    0    Y66          Cash                               2,300.00          3,325.00
 05/01/2013   RT - APT RENT            122699   3JN          Invoice            3,150.00                           6,475.00   749

05/08/2013 42 - CHECK RECEIVED        124479    3JN          Credit          (3,150.00)                           3,325.00    742
 05/13/2013   42 - CHECK RECEIVED      125373   3JN          Debit                42.75                            3,367.75   737
 05/13/2013   42 - CHECK RECEIVED      125373   3JN          Debit                85.50                            3,453.25   737
 05/13/2013   42 - CHECK RECEIVED      125373   3JN          Debit                85.50                            3,538.75   737
 05/13/2013   42 - CHECK RECEIVED      125373   3JN          Debit               128.25                            3,667.00   737

05/16/2013 42 - CHECK RECEIVED        125700    3JN          Credit          (3,395.00)                             272.00    734
 06/01/2013   47 - RENT ADJUSTMENT     125686   3JN          Debit               245.00                             517.00    718
 06/01/2013   RT - APT RENT            130410   3JN          Invoice            3,395.00                           3,912.00   718

06/20/2013 42 - CHECK RECEIVED        133860    3JN          Credit          (3,395.00)                             517.00    699
 07/01/2013   RT - APT RENT            138459   3JN          Invoice            3,395.00                           3,912.00   688
 08/01/2013   L6 - LATE-JUNE           141024                Debit                50.00                            3,962.00   1320*

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GREER MD, STEVEN                                                                                                                  MARINER'S COVE SITE B ASSOC.
200 RECTOR PLACE #35F                                                                                                                        200 RECTOR PLACE
NEW YORK, NY 10280                                                                                                                          NEW YORK, NY 10280



Tenant ID          Tenant Name                   Property Name                Lease Start Date Lease End Date              Square Feet           Security Deposit
Z1 35F             GREER MD, STEVEN              MARINER'S COVE SITE B ASSOC. 05/01/2013       04/30/2014                          645                 $3,395.00




  Date IN     A/R Desc                  Inv # Voucher        Type        Amount Billed         Payments   Running Bal.    Age      Description
 08/01/2013   RT - APT RENT            146294   3JN          Invoice            3,395.00                       7,357.00   657

08/02/2013 42 - CHECK RECEIVED         147996   3JN          Credit          (3,395.00)                       3,962.00    656

08/12/2013 42 - CHECK RECEIVED         149177   3JN          Credit          (3,395.00)                         567.00    646
 08/13/2013   28 - RETURNED CHECK      149379   3JN          Debit              3,395.00                       3,962.00   645

08/29/2013 42 - CHECK RECEIVED         158636   3JN          Credit          (2,500.00)                       1,462.00    629
 09/01/2013   78 - LATE CHARGE         149730                Debit               100.00                        1,562.00   1289*
 09/01/2013   RT - APT RENT            156934   3JN          Invoice            3,395.00                       4,957.00   626

09/10/2013 42 - CHECK RECEIVED         158743   3JN          Credit            (900.00)                       4,057.00    617
 10/01/2013   L8 - LATE-AUGUST         159546                Debit               100.00                        4,157.00   1259*
 10/01/2013   33 - TENANT CHARGE       161175                Debit                30.00                        4,187.00   1259*
 10/01/2013   RT - APT RENT            165760   3JN          Invoice            3,395.00                       7,582.00   596

10/09/2013 42 - CHECK RECEIVED         167576   3JN          Credit          (3,395.00)                       4,187.00    588

10/09/2013 42 - CHECK RECEIVED         167576   3JN          Credit          (3,395.00)                         792.00    588
 11/01/2013   78 - LATE CHARGE         167939                Debit               100.00                         892.00    1228*
 11/01/2013   RT - APT RENT            174104   3JN          Invoice            3,395.00                       4,287.00   565
 12/01/2013   09 - TELEPHONE           175594                Debit                35.00                        4,322.00   1198*
 12/01/2013   RT - APT RENT            181794   3JN          Invoice            3,395.00                       7,717.00   534

12/04/2013 42 - CHECK RECEIVED         182940   3JN          Credit          (3,000.00)                       4,717.00    531
 01/01/2014   LY - LATE-NOVEMBER       184364                Debit               100.00                        4,817.00   1167*
 01/01/2014   RT - APT RENT            189540   3JN          Invoice            3,395.00                       8,212.00   503

01/09/2014 42 - CHECK RECEIVED         190728   3JN          Credit          (3,600.00)                       4,612.00    495
 02/01/2014   LZ - LATE-DECEMBER       191356                Debit               100.00                        4,712.00   1136*
 02/01/2014   RT - APT RENT            197323   3JN          Invoice            3,395.00                       8,107.00   472
 03/01/2014   L1 - LATE-JANUARY        199063                Debit               100.00                        8,207.00   1108*
 03/01/2014   RT - APT RENT            204937                Invoice            3,395.00                      11,602.00   1108*
 04/01/2014   L2 - LATE-FEBRUARY       206887                Debit               100.00                       11,702.00   1077*
 04/01/2014   RT - APT RENT            213963                Invoice            3,395.00                      15,097.00   1077*
 05/01/2014   06 - LEGAL FEES          215704                Debit                98.23                       15,195.23   1047*
 05/01/2014   RT - APT RENT            221707                Invoice            3,395.00                      18,590.23   1047*
 06/01/2014   RT - APT RENT            230908                Invoice            3,395.00                      21,985.23   1016*
 07/01/2014   06 - LEGAL FEES          233493                Debit               785.31                       22,770.54   986*
 07/01/2014   RT - APT RENT            239569                Invoice            3,395.00                      26,165.54   986*
 08/01/2014   RT - APT RENT            248728                Invoice            3,395.00                      29,560.54   955*
 09/01/2014   RT - APT RENT            257777                Invoice            3,395.00                      32,955.54   924*
 10/01/2014   20 - USE & OCCUPANCY     265971                Invoice            3,395.00                      36,350.54   894*
 11/01/2014   20 - USE & OCCUPANCY     274319                Invoice            3,395.00                      39,745.54   863*
 12/01/2014   20 - USE & OCCUPANCY     282190                Invoice            3,395.00                      43,140.54   833*
 01/01/2015   20 - USE & OCCUPANCY     290065                Invoice            3,395.00                      46,535.54   802*
 02/01/2015   20 - USE & OCCUPANCY     297379                Invoice            3,395.00                      49,930.54   771*
 03/01/2015   20 - USE & OCCUPANCY     304836                Invoice            3,395.00                      53,325.54   743*

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GREER MD, STEVEN                                                                                                                          MARINER'S COVE SITE B ASSOC.
200 RECTOR PLACE #35F                                                                                                                                200 RECTOR PLACE
NEW YORK, NY 10280                                                                                                                                  NEW YORK, NY 10280



Tenant ID          Tenant Name                           Property Name                Lease Start Date Lease End Date               Square Feet           Security Deposit
Z1 35F             GREER MD, STEVEN                      MARINER'S COVE SITE B ASSOC. 05/01/2013       04/30/2014                           645                 $3,395.00




  Date IN     A/R Desc                          Inv # Voucher        Type         Amount Billed        Payments    Running Bal.    Age     Description
 04/01/2015   20 - USE & OCCUPANCY            314112    3JM          Invoice            3,395.00                       56,720.54    49
 05/01/2015   20 - USE & OCCUPANCY            321665    3JM          Invoice            3,395.00                       60,115.54    19

05/05/2015 42 - CHECK RECEIVED               322854     3JM          Credit           (3,395.00)                      56,720.54    15      USE & OCCUP APRIL
                                                                                                                                           PAYMENT

05/12/2015 42 - CHECK RECEIVED               323123     3JM          Credit           (3,395.00)                      53,325.54     8      FOR USE&OCCUPANCY DEP

05/20/2015 42 - CHECK RECEIVED               323477     3JN          Credit          (10,730.70)                      42,594.84     0      CK FROM NYC FINANCE
 06/01/2015   20 - USE & OCCUPANCY            329280                 Invoice            3,395.00                       45,989.84   651*

06/17/2015 42 - CHECK RECEIVED               331167                  Credit           (3,395.00)                      42,594.84    635*
 07/01/2015   20 - USE & OCCUPANCY            336944                 Invoice            3,395.00                       45,989.84   621*

07/16/2015 42 - CHECK RECEIVED               339593                  Credit           (3,395.00)                      42,594.84    606*
 08/01/2015   20 - USE & OCCUPANCY            346096                 Invoice            3,395.00                       45,989.84   590*

08/11/2015 42 - CHECK RECEIVED               347365                  Credit           (3,395.00)                      42,594.84    580*
 09/01/2015   20 - USE & OCCUPANCY            353950                 Invoice            3,395.00                       45,989.84   559*

09/15/2015 20 - USE & OCCUPANCY              355270                  Credit           (3,395.00)                      42,594.84    545*
 10/01/2015   20 - USE & OCCUPANCY            361477                 Invoice            3,395.00                       45,989.84   529*

10/30/2015 42 - CHECK RECEIVED               370298                  Credit           (3,395.00)                      42,594.84    500*    CK DEP 10/30/15 USE &
                                                                                                                                           OCCUP
 11/01/2015   20 - USE & OCCUPANCY            369097                 Invoice            3,395.00                       45,989.84   498*

11/23/2015 42 - CHECK RECEIVED               377721                  Credit           (3,395.00)                      42,594.84    476*    USE & OCCUP CK FOR
                                                                                                                                           NOVEMBER
 12/01/2015   20 - USE & OCCUPANCY            376560                 Invoice            3,395.00                       45,989.84   468*

12/22/2015 42 - CHECK RECEIVED               385709                  Credit           (3,395.00)                      42,594.84    447*    USE & OCCUPANCY
 01/01/2016   20 - USE & OCCUPANCY            384546                 Invoice            3,395.00                       45,989.84   437*

01/12/2016 42 - CHECK RECEIVED               386131                  Credit           (3,395.00)                      42,594.84    426*
 02/01/2016   20 - USE & OCCUPANCY            392120                 Invoice            3,395.00                       45,989.84   406*

02/08/2016 42 - CHECK RECEIVED               393337                  Credit           (3,395.00)                      42,594.84    399*    DEPOSIT 2/8-USE &
                                                                                                                                           OCCUPANCY
 03/01/2016   20 - USE & OCCUPANCY            399508                 Invoice            3,395.00                       45,989.84   377*

03/18/2016 42 - CHECK RECEIVED               401900                  Credit           (1,697.50)                      44,292.34    360*    DEPOSIT 3/21 USE &
                                                                                                                                           OCCUPANCY
 04/01/2016   20 - USE & OCCUPANCY            407073                 Invoice            3,395.00                       47,687.34   346*

05/01/2016 47 - RENT ADJUSTMENT              408859                  Credit           (2,489.67)                      45,197.67    316*

05/01/2016 40 - SECURITIES APPL              408859                  Credit           (3,395.00)                      41,802.67    316*

                                                                        Tenant       388,013.85       346,211.18      41,802.67
                                                                        Totals:

Filter Criteria:

Results based on: Start Date = 01/01/1997 AND End Date = None

                                                                                                                                                         Page 10 of 10




                                                                                                                                                         LD002649
